955 F.2d 40
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Dewey C. DAVIS, Petitioner-Appellant,v.William C. DUNCIL, Respondent-Appellee.
    No. 91-7338.
    United States Court of Appeals, Fourth Circuit.
    Submitted Feb. 3, 1992.Decided Feb. 14, 1992.
    
      Appeal from the United States District Court for the Southern District of West Virginia, at Charleston.   Charles H. Haden, II, Chief District Judge.  (CA-91-253-2)
      Dewey C. Davis, appellant pro se.
      Joanna Irene Tabit, Deputy Attorney General, Charleston, W.V., for appellee.
      S.D.W.Va.
      DISMISSED.
      Before WIDENER, HAMILTON and LUTTIG, Circuit Judges.
      OPINION
      PER CURIAM:
    
    
      1
      Dewey C. Davis noted this appeal outside the thirty-day appeal period established by Fed.R.App.P. 4(a)(1), and failed to move for an extension of the appeal period within the additional thirty-day period provided by Fed.R.App.P. 4(a)(5).   The time periods established by Fed.R.App.P. 4 are "mandatory and jurisdictional."   Browder v. Director, Dep't of Corrections, 434 U.S. 257, 264 (1978) (quoting  United States v. Robinson, 361 U.S. 220, 229 (1960)).   Appellant's failure to note a timely appeal or obtain an extension of the appeal period deprives this Court of jurisdiction to consider this case. therefore deny a certificate of probable causes to appeal and dismiss the appeal.   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    